         Case 1:21-cr-00213-RJL Document 33-1 Filed 11/08/21 Page 1 of 2




                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                      November 8, 2021

Via Email
Nathan Miller
Suhre & Associates, LLC
214 S. Clay Street, Suite A
Louisville, KY 40202
nmiller@suhrelaw.com

Eugene Gorokhov
Burnham & Gorokhov PLLC
1424 K Street, NW, Suite 500
Washington, DC 20005
eugene@burnhamgorokhov.com

Counsel for Chad Barrett Jones

       Re:      United States v. Chad Barrett Jones
                Case No. 1:21-cr-00213-RJL

Dear Counsel:

       The following discovery materials were provided today via filesharing:

             1. MARKED HIGHLY SENSITIVE: Additional CCTV footage of the
                defendant (8 files)
             2. MARKED SENSITIVE: Interviews of Officers by Statuary Hall
                Connector (three 302s, 1 transcript with associated audio and exhibits)

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is being provided pursuant to the Protective Order issued in this case.
Please adhere to sensitivity markings.
         Case 1:21-cr-00213-RJL Document 33-1 Filed 11/08/21 Page 2 of 2




        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,


                                                    _______________________
                                                    Candice C. Wong
                                                    Assistant United States Attorney
                                                    202-252-7849
                                                    Candice.wong@usdoj.gov




                                                2
